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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

EXCELLED SHEEPSKIN & LEATHER COAT
CORP., :
Plaintiff, :

-against- |

OREGON BREWING COMPANY, :
Defendants. :

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GEORGE B. DANIELS, United States District Judge:

Filed 11/05/20 Page 1of1

 

12 Civ. 1416 (GBD) (SDA)

The unopposed motion to substitute a party pursuant to Federal Rule of Civil Procedure

25(c), (ECF No. 199), is GRANTED. The Clerk of Court is directed to close the motion at ECF

No. 199.

Dated: New York, New York
November 4, 2020

SO ORDERED.

Q£/B. DANIELS

Soe OP. District Judge
